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 KURTls MAPLES AND                                                 ()
 KRESTYNA MAPLES
                                                                    {}
 v.                                                                 {}

                                                                    {}
 BARRETT DAFFIN FRAPPIER TURNER &
 ENGEL, LLP IN REM ONLY, CARRINGTON
 MORTGAGE SERVICES, LLC and                                         {}
 BANK 0F AMERICA, NA.

                    FOR DECLARATORY JUDGMENT AND APPLICATION FOR
      PLAINTIFFS’ SUIT
         TEMPORARY RESTRAINING ORDER AND TEMPORARY INJUNCTION

 TO THE HONORABLE JUDGE OF SAID COURT:
          NOW COMES Kurtis Maples and Krestyna Maples,                             Plaintiffs herein,   and ﬁles    this


 Plaintiffs’   Application for Temporary Restraining Order and Temporary Injunction against


 Carrington Mortgage Services, LLC, Defendant herein, and in support thereof, shows the Court


 thc following:


                                                PARTIES      AND SERVICE

  1.   Plaintiff, Kurtis    Maples,   is   an individual residing       in   Demon County,      Texas. Plaintiff


       Plaintiff,   Krestyna Maples,       is   an individual residing       in   Demon   County, Texas.

 2.    Defendant, Banett Dafﬁn Frappier Turner                & Engel, LLP In Rem Only, may be served by
       serving   its   agent,   James C. Frappier     a1   4004 Belt Line         Rd., Suite 100, Addison.


 3.    Defendant, Carrington Mortgage Services,                LLC may        be served by serving       its   registered


       agent for service ofprocess at           CT Corporation    System, 1999 Bryan           St.,   Suite 900, Dallas,


       Texas.


 4.    Defendant, Bank 0f America,              NA. may     be served by serving Bank ofAmerica,                 NA at
       Legal Order Processing, P.O.             Box 15047, Wilmington, Delaware              19850.

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      5.    The    subject matter in controversy                    is   within the jun'sdictional limits 0f this court.


      6.    Plaintiffs seek:


                        a.    To maintain ownership and possession of his home and                            real property        and

                              monetary       rclicf   of $100,000 or            less,   including   damages 0f any        kind, penalties,


                              costs, expenses,        pre-judgment             interest,   and attorney   fees.




                                                                    JURISDICTION

  7.        This court hasjurisdiction over Defendants because said Defendants purposefully availed


            themselves of the privilege 0f conduction activities in thc state                             ochxas         and established

            minimum           contacts sufﬁcient to confer jurisdiction over said Defendants and the assumption


            ofjurisciiction over         Defendants will not offend traditional notions 0f fair play and


            substantial justice        and     is   consistent with the constitutional requirements 0f due process.


            Plaintiffs        would   also   show     that the cause           0f action arose from 0r      relates t0 the contacts         of

            Defendants         to the state     0f Texas, thereby conferring speciﬁc jurisdiction with respect to said


            Defendants.


                                                                                 VENUE
  8.        Venue       in   Demon    County, Texas            is   proper in      thi‘s
                                                                                           cause under Section 15.0]        1   ot‘the   Texas

            Civil Practice and         Remedies Code because                     this action involves rcal property as            provided by

            said section, and this county               is   where       all   0r part of the real property       is   located.



                                                                            FACTS

 9.        Plaintiffs        homc and homesfead              located at        5057 Brandenburg Lane, The Colony, Texas, has

           been posted for foreclosure sale and said sale                          is   noticed t0 take place on        December     4,   2018   to


           begin   at   1:00 p.m. 0r not later than three hours after that time. Plaintiffs are the owners of the

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    real property the subject     0f this     suit located at    5057 Brandenburg Lane, The Colony, Texas,

    having purchased said property            in the   year 2007 and havc always maintained and used the


    property as their homestead. Since approximately the year 2009, Plaintiffs have been


    embroiled in a horrible back and forth with their mortgage company(ies), and servicer—


    identiﬁed as one time 0r another as the Defendants, Barrett               Dafﬁn Frappier Tumor             & Engel,
    LLP    In   Rem   Only, Carrington Mortgage Services,            LLP and Bank of America, NA. The

    Notice ofAcceleration        is   attached I0 this petition as Exhibit        1   and incorporated by reference

    the   same    as if fully copied   and   set forth at length    hereinfThe Notice of Substitute Trustee’s

    Sale   is   attached t0 this petition as Exhibit 2 and incorporated by reference the                same   as if fully


    copied and set forth     at length herein, states that the        Mortgagcc       is   Carrington Mortgage


    Services,     LLC, 1600 South Douglass Road,            Suite 200-A, Anaheim,            CA   92806; however,


    other communications from Defendant identify Carrington Mortgage Services,                           LLC    as acting


    as the   Mortgage Servicer        for   Bank of America, N.A., who       is   the mortgagee 0f the      Note and

    Dccd of Trust      associated with the loan in question. Defendant has not presented to Plaintiffs


    vié any of any Defendant’s foreclosure documentation, to include the notice ofacceleration


    and/or notice 0f substitute trustee sale, the original note, as required, on which Defendants


    base their foreclosure. Plaintiffs, Kurtis Maples and Krcstyna Maples hereby                       demand     to see


    the original note in question, and         demand     that   Defendants produce said note to Plaintiffs for


    inspection.


          On    or about 2009, Plaintiffs began to experience horriﬁc customer service issues with


    Defendant, Bank of America, N.A., their mortgagor                 when   they were granted a loan


    modiﬁcation by Bank of America,              NA.    by the modiﬁcation department but the foreclosure

    department was not made aware that Defendant Bank of America,                           NA.   had granted Plaintiffs

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    a loan modiﬁcation and said Defendant wcnt forward with foreclosure proceedings against


    Plaintiffs.     The foreclosure was eventually rescinded by Bank of America, but by                                that time,


    Bank 0f American had charged              Plaintiffs additional attorneys fees, foreclosure fees                      and such


    fccs   and other added 0n expenses continued             t0    be charged against         Plaintiffs,       and protested by


    Plaintiffs at all times relevant. Additionally, at times relevant, Plaintiffs                      made       their   monthly

    payments, but the Defendants applied such payments                   t0    escrow instead 0f t0 principal and


    interest.    In a1], there   were two such situations where Bank of American wrongfulfy                               instituted


    foreclosure proceeding against Plaintiffs and each time,                   Bank 0f America had               to rescind the


    or call off the foreclosure. These and other issues that form the basis Ofthis lawsuit are


    detailed    and chronicled      in the afﬁdavit     of Curtis Maples, which          is   attached t0 this petition as


    Exhibit 3 and incorporated herein by reference as if fully copied and set forth                              at   length


    hcrcin,   and   in the   afﬁdavit of Krestyna Maples, which           is   attached to this petition as Exhibit 4


    and incorporated herein by reference as             if fully   copied and set forth        at    length herein. Since


    thc inception of the issues in 2009, the issues have snowballed and have reached a


    maddening and ridiculous             point, resulting in the posting       0f the subject foreclosure.                Plaintiffs


    have called the mortgage company and/or servicer ad inﬁnitum and ad nauseam,                                      in attempts


    t0 resolve Ihc issue.        Since that time, Plaintiffs have been assigned to approximately 24


    different account        managers     for the   mortgage companies and/or           scrvicer.      The corporate

    culture pertaining to each Defendant as they related with the Plaintiffs has bccn simply


    astounding, as     it   sometimes seemed as though they            told the Plaintiffs anything,              and     left



    Plaintiffs   with the and the corporate culture         at   each was,     if   you ask three      different people the


    same   question, Plaintiffs      would get      three different answers.          This    last   time, apbroximately in


    August 0f 20 l 8,       plaintiffs   were notiﬁed   that their request for a loan          modiﬁcation had been

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    approved, only t0 ﬁnd out 0n thc same day that the Defendant(s) were instituting foreclosure


    proceedings against the         PlaintifTs.        Evcn up      to the present time,   Defendants have claimed that


    Plaintiffs are not entitled to a loan              modiﬁcation because 0f items showing on               their credit


    repair;    however, the derogatory information on                     Plaintiffs credit report are the   wrongful


    foreclosures posted by the Defendants and/or derogatory                         payment information, again only

    regarding payment         o'f this   mortgage note         in question, in     which   Plaintiffs maintain that


    Defendants’ charges, computations, and ﬁgures are ﬂat out wrong, and                              at best are incorrect.


          PlaintiITs   have ﬁled   this suit      seeking to enjoin the pending foreclosure in               that:


    The   notice of acceleration does not state any dollar                    amount sought by Defendants            as they


    seek to accelerate the note; however, Plaintiffs contend that whatever thc amount that


    Defendant     is   seeking t0 put forth as the amount due on acceleration of the note, that such


    amount     is incorrect.



        Plaintiffs     would show        that   a Substitute Trustee has not been property identiﬁed as                      it is




    unclear whether the Mortgagor                is   Bank of America,        NA.    or Carrington Mortgage Services,


    LLC.

        Therefore, the Notice 0f Acceleration                  is   void and fatally defective in that       it   fails to   name,

    state,   0r identify   who   the Substitute Trustee             is.   The Notice of Substitute Trustee’s Sale              is



    void and fatally defective in that            it   fails to state     thc amount, in dollars     and cents, 0f the notc

    being accelerated, and thus, did not apprise Plaintiffs 0f the amount                       it   would take      to cure the


    default.    Defendants do not show                that Plaintiffs     even received proper notice 0f any default

    upon which     thjs    speciﬁc foreclosure           may   be based.



        Based 0n the above and foregoing, the pending Substitute Trustee’s Sale should be

    enjoined.
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 The       notice of acceleration and the notice ofsubstitutc trustee’s sale are defective, and the defects


 arc fatal.



  Now,          after   almost 9 years, Defendants, instead 0f working with                        Plaintiffs, just       want   to


 foreclose.



  10. Plaintiffs assert the              afﬁrmative defense of thc statute of [imitations in that the alleged debt


           that   is   the subject of this suit       is   morc than 4 years          old.    Plaintiffs also assert the        afﬁrmative


           defense of laches, in that thc alleged debt that                     is   the subject of this suit   is   more than 4 years

           old.


  11.      Unless Defendants herein are immediately enjoined and restrained, Plaintiffs will suffer


           irreparable         harm by   losing their      home   at the   foreclosure sale currently set for               December 4,

           2018.


  12   .   Element for injunctive           relief.    In light 0f thc     above described          facts, Plaintiffs      scck recovery


           from Defendants. The nature 0f the lawsuit                      is   a Declaratory Judgment t0 prevent a wrongful


           foreclosure. Defendants do not have the authority to foreclose on this                               propeny under Texas

           law;


  13. Plaintiffs are likely to             succeed 0n the merits 0f this lawsuit because Defendants have failed


           to   comply with       the law regaxding non-judicia] foreclosure.


  14.      Unless       this   Honorable Court immediately remains the Defendants, the                          Plaintiffs will suffer


           immediate and irreparable            injury, for     which there           is   n0 adequate remedy        at   law   to   give


           Plaintiffs complete, ﬁnal          and equitable       relief.       More       speciﬁcally, Plaintiffs will         show    the


           Court the following:




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                      A.    The harm      to Plaintiffs is   imminent because the foreclosure        is set to     take place


                            December 4, 20      1   8 at and Plaintiffs will forever loose their property should thc


                            foreclosure occur.


                      B. This imminent          harm    will cause Plaintiffs irreparable injury in that a sale            of


                            their real   propeny     will be forever lost.


                      C. There     is    n0 adequate remedy        at   [aw which   will give Plaintiffs complete, ﬁnal


                            and equitable    relief.




                                                             BOND

  15. Plaintiffs are willing t0          post a reasonable temporary restraining order bond and request the


        coun     to set   such bond.


  16. Plaintiffs     have met     Plaintiffs’   burden by establishing each clement which must be present


        before injunctive relief can bc granted by this court, therefore Plaintiffs are entitled to the


        requested temporary restraining Order.


  17. Plaintiffs request the court t0 restrain            Defendants from suffering irreparable harm by losing


        the above referenced foreclosure.


  18.   It is   essential that the court immediately         and temporarily restrain Defendants herein, from


        inﬂicting irreparable       harm upon        Plaintiffs   by foreclosing 0n thc subject properly.          It is




        essential that the court act immediately, prior t0 giving notice to Defendants                        and a hearing

        on the matter because no hearing can be held before the                     sale   on December   4,   2018.


  19. in   order t0 preserve the status quo during the pendency ol‘this action, Plaintiffs request that


        the Defendants bc temporarily enjoined               from inﬂicting irreparable harm by losing the

        subject property at foreclosure.



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                                                          PRAYER

       WHEREFORE, PREMISES CONSIDERED,                                Plaintiffs respectfully   pray     that:




       A. Defendants will bc cited to appear and answer herein;


       B.   A temporary restraining order will               issue without notice t0 defendants, restraining


            Defendants, Defendant’s ofﬁcers, agents, servants, employees, agents servants,


            successors and assigns, and attorneys from directly or indirectly inflicting irreparable


            ham 0n      Plaintiffs   by   selling their   home   at foreclosure   0n December       4,   2018;


       C.   The Court      sets a reasonable      bond    for the   temporary restraining order;

       D. After notice and hearing, a temporary injunction will issue injoining and restraining


            Defendants, Defendant’s ofﬁcers, agents, servants, employees, succ'essors and


            assigns, and attorneys         from   directly 0r indirectly inﬂicting irreparable           harm by     selling


            tho subject real property         owned by       Plaintiffs at foreclosure;


       E.   For such other and further          relief, in   [aw or   in equity, to   which   Plaintiffs   may    be justly

            entitled.




                                                                    Respectfully submitted,




                                                                    By:
                                                                    Shari'TC   Lamb
                                                                    Texas Bar No. 11838300
                                                                    Email: skllaw@ﬂash.net
                                                                    5301 Village Creek Drive, Suite          D
                                                                    Plano, 'l‘cxas 75093
                                                                    (972) 550-7373 Telephone
                                                                    (972) 550-8460 Fax
                                                                    Attorney for Plaintiffs


                                          CERTIFICATE OF CONFERENCE

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          I   certify that diligent attempts to notify counsel for the party against   whom ex pane rclicf
    is   sought have been unsuccessful and the circumstances do not permit additional efforts 10
    give notice.


          Signed 0n    this 4‘“   day 0f December, 2018.                                ,




                                                    By:
                                                           Anorﬁeifor   Plaintiffs




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